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   6
       Attorneys for Plaintiff,
   7 JENNA NOBLE
   8                          UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10
       JENNA NOBLE,                     )        Case No. 2:19-cv-08646 ODW (JPRx)
  11                                    )        [Hon. Otis D. Wright, II]
                         Plaintiff,     )        [Magistrate Judge Jean P. Rosenbluth]
  12                                    )
             vs.                        )        Plaintiff’s Notice of Motion and
  13                                    )        Motion to Quash Plaintiff’s Deposition
       DORCY, INC., a California        )        Subpoenas for Production of Business
  14    corporation dba CONSCIOUS CO- )          Records or, in the alternative, Motion
       PARENTING INSTITUTE; DORCY )              for a Protective Order; Declaration of
  15   PRUTER, an individual; and DOES )         Daniel Nomanim; Declaration of Jenna
       1-100, inclusive,                )        Noble
  16                                    )
                            Defendants. )        Date:        December 5, 2019
  17                                    )        Time:        10:00 a.m.
        ______________________________)          Place:       Courtroom 690, 6th Floor
  18
  19 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  20         You are hereby notified that at the above captioned date and time, or as soon as
  21 the matter may be heard, in Courtroom 690, 6th Floor, of the above captioned court,
  22 located at Roybal Federal Building and United States Courthouse, 255 E. Temple St.,
  23 Los Angeles, CA, 90012, Plaintiff Jenna Noble (hereinafter “Plaintiff”) will move this
  24 court for an order quashing Defendants Dorcy, Inc. and Dorcy Pruter’s (hereinafter
  25 “Defendants”) service of deposition subpoenas for production of business records on
  26 Paypal Holdings, Inc., or in the alternative, move this court for a protective order.
  27 //
  28
                                                  1.
       Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business Records,
                        or in the Alternative, Motion for a Protective Order
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   1         Plaintiff’s motion will be made pursuant to FRCP Rules 26, 45 on the ground
   2 that the subpoena is premature, seeks trade secret or other private and confidential
   3 information, and is irrelevant, is overbroad, not narrowly tailored, and violate privacy
   4 rights, especially a third party rights to privacy.
   5         This motion will be based on this notice, the points and authorities set forth
   6 below, the attached declaration of Daniel Nomanim, Esq., and the complete files and
   7 records in this action.
   8         This motion is made following the conference of counsel pursuant to L.R. 7-3
   9 which took place on October 8, 2019.
  10
       DATED:     October 23, 2019                       EISENBERG & ASSOCIATES
  11
  12                                          By:                /s/
                                                         Daniel Nomanim
  13                                                     Attorneys for Defendant
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                                                    2.
       Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business Records,
                        or in the Alternative, Motion for a Protective Order
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   1                        Memorandum of Points and Authorities
   2 I.     Introduction
   3        Defendants have propounded an extremely invasive, overbroad, and invalid state
   4 court subpoena to Paypal Holdings, Inc. Despite removing the case to federal court,
   5 Defendants have refused to withdraw their state court subpoena without prejudice to
   6 allow the parties to adequately meet and confer, especially given that Defendants were
   7 put on notice of Plaintiff’s Jewish holiday from October 14-22, which drastically reduced
   8 the time to meet and confer on this matter. As will be shown below, the subpoena must
   9 be quashed because:
  10        •      It is premature under FRCP Rule 26(d), which states “A party may not seek
  11               discovery from any source before the parties have conferred as required by
  12               Rule 26(f)...”). Because the FRCP 26 conference has not yet occurred, the
  13               subpoena served prior to the conference under FRCP Rule 26 was invalid;
  14        •      The subpoena was issued by a state court which was divested of jurisdiction
  15               upon removal. See Visicorp v. Software Arts, Inc. (N.D. CA 1983) 575
  16               F.Supp. 1528, 1531 (“Where or not such discovery is lodged with the state
  17               court, it is not a matter which remains with any force or effect after
  18               removal.”). See also FRCP 45 (a)(2) “A subpoena must issue from the court
  19               where the action is pending.”
  20        •      The subpoena seeks extremely private information of Plaintiff and a third
  21               party;
  22        •      The subpoena seeks confidential trade secret information; AND
  23        •      The subpoena is irrelevant.
  24        The purpose of this motion is to either quash the subpoenas in their entirety, or at
  25 least limit them in a way that is narrowly tailored, does not violate third party privacy
  26 rights, and specifically delineates the requested documents. In the alternative, Plaintiff
  27 requests a protective order to avoid dissemination of this trade secret information.
  28
                                                   1.
           Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business
                    Records, or in the Alternative, Motion for a Protective Order
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   1
   2   II.    Factual Background
   3          As is relevant here, Plaintiff’s initial interaction with Defendants was through
   4 paying $23,000 to train with Dorcy, Inc. under the guise that Plaintiff would receive
   5 certifications that would be recognized by the International Association of Coaching,
   6 which turned out not to be true.
   7          Plaintiff then began working for Defendant around April or May of 2018 as its
   8 enrollment manager, which included coming to California to train Defendant's other
   9 employees, customer service, converting potential clients into customers, enrolling
  10 customers in Defendant's programs, going on business trips like attending conventions
  11 to sell Defendant's services, and secretarial duties for Dorcy Pruter.
  12          Among other agreements, Plaintiff and Dorcy, Inc. agreed in writing that Plaintiff
  13 would make varying percentages of the gross price paid by participants to attend or
  14 participate in certain of Defendant's coaching programs that were sourced by Plaintiff
  15 through Defendants or by Plaintiff herself. Plaintiff was not paid all of the agreed upon
  16 commissions she was entitled to and was also not paid other percentages of gross
  17 proceeds paid to Dorcy, Inc., even though Dorcy, Inc. agreed to pay such percentages.
  18          On or around May 31, 2019, Dorcy Pruter forcefully grabbed Plaintiff's breasts
  19 during a business trip to the Association of Family and Conciliation Courts. Plaintiff
  20 complained about this sexually harassing conduct to the police in Lloydminster, Alberta,
  21 Canada. After Plaintiff's complaint to the police, Plaintiff was terminated in retaliation
  22 for her complaints on or about June 18, 2019.
  23
  24 III.     Subpoena at Issue
  25          The subpoena at issue directed to Paypal Holdings, Inc. seeks the following:
  26 REQUEST FOR PRODUCTION OF DOCUMENTS NO.1
  27 All PAYPAL ACCOUNT information associated with JENNA NOBLE.
  28
                                                   2.
             Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business
                      Records, or in the Alternative, Motion for a Protective Order
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   1 REQUEST FOR PRODUCTION OF DOCUMENTS NO.2
   2 All PAYPAL ACCOUNT information associated with MONIQUE MASON.
   3 REQUEST FOR PRODUCTION OF DOCUMENTS NO.3
   4 All financial instruments added to PAYPAL ACCOUNTS associated with JENNA
   5 NOBLE.
   6 REQUEST FOR PRODUCTION OF DOCUMENTS NO.4
   7 All financial instruments added to PAYPAL ACCOUNTS associated with MONIQUE
   8 MASON.
   9 REQUEST FOR PRODUCTION OF DOCUMENTS NO.5
  10 Complete PayPal transactional information for PAYPAL ACCOUNTS associated with
  11 JENNA NOBLE.
  12 REQUEST FOR PRODUCTION OF DOCUMENTS NO.6
  13 Complete PayPal transactional information for PA YPAL ACCOUNTS associated with
  14 MONIQUE MASON.
  15 REQUEST FOR PRODUCTION OF DOCUMENTS NO.7
  16 All PAYPAL ACCOUNT information associated with the TD CANADA TRUST
  17 ACCOUNT.
  18 REQUEST FOR PRODUCTION OF DOCUMENTS NO.8
  19 Complete PayPal transactional information for all PAYPAL ACCOUNTS associated
  20 with the TD CANADA TRUST ACCOUNT.
  21 REQUEST FOR PRODUCTION OF DOCUMENTS NO.9
  22 All PAYPAL ACCOUNT information associated with the SERVUS ACCOUNT.
  23 REQUEST FOR PRODUCTION OF DOCUMENTS NO. 10
  24 Complete PayPal transactional information for all PAYPAL ACCOUNT information
  25 associated with the SERVUS ACCOUNT. Exhibit A. This subpoena was sent under the
  26 jurisdiction of the State of California on October 3, 2019.
  27
  28
                                                 3.
           Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business
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   1        Only after the parties met and conferred on October 8, 2019 and during Plaintiff’s
   2 counsel’s noticed vacation from October 14-22, 2019, Defendant filed a cross-complaint
   3 alleging that Plaintiff had allegedly “enrolled numerous clients, and then asked these
   4 clients to pay her via her personal PayPal account.” See Document 11, Page 11, ¶10.
   5        Even if this were true, it would not justify the vastly overbroad subpoena to Paypal
   6 requesting all of Plaintiff’s Paypal transactions, as well as those of a third-party who has
   7 not been given the chance to object yet and who has not even been served.
   8        At the very least, Defendant should have to limit its subpoena by time and to
   9 specific customers it believes were illegally taken on by Plaintiff and paid through Paypal.
  10
  11 IV.    Subpoena Lacks Jurisdiction
  12        On October 9, 2019, this action was removed to the United States District Court
  13 Case No. 2:19-cv-08646 ODW (JPRx). Thus, the state court subpoena lacks jurisdiction
  14 and it should not be responded to. See 28 USC §1446(d); Ackerman v. Exxon Mobil Corp.
  15 (4th Cir. 2013) 734 F.3d 237, 249-250. Removal to the state court invalidates prior
  16 pending subpoenas. See Visicorp v. Software Arts, Inc. (N.D. CA 1983) 575 F.Supp.
  17 1528, 1531 (“Where or not such discovery is lodged with the
  18 state court, it is not a matter which remains with any force or effect after removal.”)
  19        See also FRCP 45 (a)(2) “A subpoena must issue from the court where the action
  20 is pending.”
  21
  22 V.     Subpoena Is Premature
  23        The subpoena violates FRCP Rule 26(d), which states “A party may not seek
  24 discovery from any source before the parties have conferred as required by Rule 26(f)...”).
  25 Because the FRCP 26 conference has not yet occurred, the subpoena served prior to our
  26 conference under FRCP Rule 26 was invalid.
  27
  28
                                                   4.
           Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business
                    Records, or in the Alternative, Motion for a Protective Order
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   1 VI.     Subpoena Seeks Private, Trade Secret Information and Is Irrelevant and
   2         Overbroad
   3         Although this case is in federal court, as a diversity case brought under state law,
   4 the California state rules on privacy protection are applicable. Oakes v. Halvorsen
   5 Marine Ltd. (CD CA 1998) 179 F.R.D. 281, 284.
   6         Under California law, financial records are subject to the right to privacy. See
   7 Cobb. v. Sup.Ct. (1979) 99 Cal.App.3d 543, 550. "[T]here is a right to privacy in
   8 confidential customer information whatever form it takes, whether that form
   9 be...statements, or other account information."         Fortunato v. Sup.Ct. (2003) 114
  10 Cal.App.4th 475, 480. Moreover, the confidential financial affairs of third persons are
  11 entitled to a heightened privacy. See Valley Bank of Nevada v. Sup.Ct. (1975) 15 Cal.3d
  12 652, 658.
  13         As such, their disclosure cannot be compelled unless the information is directly
  14 related to this action - that is, it must be essential to determining the truth of matters in
  15 dispute. Britt v. Sup. Ct. (1978) 20 Cal.3d 844, 859-862. See also El Dorado Savings &
  16 Loan v. Sup. Ct. (1987) 190 Cal.App.3d 342. See also FRCP 26(b)(1), which requires a
  17 subpoena be relevant to the claim or defense of any party.
  18         Moreover, even where the information meets this high standard of relevance, it is
  19 not to be disclosed unless a balancing of the interests favors disclosure. Where a party
  20 seeks to discover documents subject to the constitutional right to privacy, that party bears
  21 the burden of establishing a compelling need for the discovery. Harding Lawson Assoc.
  22 v. Sup. Ct. (1992) 10 Cal.App.4th 7, 10; Davis v. Sup. Ct. (1992) 7 Cal.App.4th 1008,
  23 1014.
  24         Finally, to the extent a court allows discovery into information protected by the
  25 right to privacy, the order must “be the minimum intrusion necessary to achieve its
  26 objective.” Lantz v. Sup. Ct. (1994) 28 Cal.App.4th 1839, 1855.
  27
  28
                                                   5.
           Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business
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   1        A subpoena may also be quashed where it is served for harassment and not really
   2 for getting information. Mattel, Inc. V. Walking Mountain Productions (9th Cir. 2003)
   3 353 F.3d 792, 814. Here, Plaintiff and a third party’s private financial information from
   4 Paypal are obviously not relevant to a sexual harassment, fraud, and wrongful termination
   5 case. To the extent Defendant argues otherwise, it should have to provide evidence to
   6 overcome Plaintiff’s privacy interests in this case.
   7        Moreover, if the documents can be sought through a party without the need to seek
   8 them from a nonparty, a court should quash the subpoena. Soto v. Castlerock Framing
   9 & Transport, Inc. (ED CA 2012) 282 FRD 492, 505; Nidec Corp. V. Victor Co. Of Japan
  10 (ND CA 2007) 249 FRD 575, 577. To the extent Defendant can show any relevance,
  11 Defendant can simply send a request for production of documents for only relevant
  12 Paypal documents to plaintiff.
  13        Finally, a subpoena should be quashed if it seeks trade secrets. In Re Vitamins
  14 Antitrust Litig. (SD OH 2003) 267 F.Supp.2d 738, 741; FRCP Rule 45(d).                Here,
  15 disclosure of Plaintiff’s Paypal information would reveal the confidential names of
  16 Plaintiff’s customers, which she does not want revealed to anyone, let alone her former
  17 employer in the same line of business (i.e. family coaching to help estranged parents
  18 reunite with their children). Noble Declaration.
  19
  20        A.     Even if the Matter Were Relevant, the Balance of Interests Does Not
  21               Favor Disclosure
  22        The court proceeds to a “balancing test” only if the defendant can show that the
  23 plaintiff’s private records are directly relevant. The court must then carefully balance the
  24 interests involved: i.e., the plaintiff’s right of privacy versus the public interest in
  25 obtaining just results in litigation. Valley Bank of Nevada v. Sup.Ct. (1975) 15 Cal.3d
  26 652, 657.
  27
  28
                                                   6.
           Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business
                    Records, or in the Alternative, Motion for a Protective Order
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   1        Assuming, arguendo, that Defendant can show direct relevance, Defendant cannot
   2 show that the “public interest” in obtaining financial information from Paypal for Plaintiff
   3 and a non-party witness somehow outweighs their privacy interests in those files. Just
   4 because Defendant might believe there might be something interesting in these records
   5 does not mean that there is, all of a sudden, a great public interest in their disclosure.
   6        In El Dorado Savings & Loan,190 Cal. App. 3d 342, the Court also held that it is
   7 important to consider the balancing between protecting the information contained in the
   8 personnel file and whether less intrusive means are available to request the information.
   9 “[E]ven when the balance tips in favor of disclosure, constitutional concerns require a
  10 strict circumspection of the scope of the disclosure."       Id. at 346, (citing, Cutter v.
  11 Brownbridge (1986) 183 Cal.App.3d 836, 843).
  12        "...[T]he rules of discovery do not allow unrestricted access to all species of
  13 information. Discovery of constitutionally protected information is on par with discovery
  14 of privileged information and is more narrowly proscribed that traditional discovery.”
  15 Tylo v. Sup. Ct. (1997) 55 Cal.App.4th 1379, 1387.            Defendant’s desired fishing
  16 expedition into the financial files of its former employees is not permitted when their
  17 constitutional right to privacy is at issue. Davis v. Superior Court (1992) 7 Cal. App. 4th
  18 1008, 1017; Mendez v. Superior Court (1988) 206 Cal.App.3d 557, 570-571 (mere
  19 conjecture about what might be found is an insufficient basis for discovery of matters
  20 protected by the constitutional right to privacy); and Huelter v. Superior Court, (1978)
  21 87 Cal.App.3d 544, 548-549 ("mere speculation does not justify the discovery of
  22 privileged matter.")
  23        Given the necessarily limited and tangential relevance of these documents, there
  24 is no reason for this court to find that the weighing of interests favors disclosure of the
  25 subpoenaed records.
  26 //
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                                                   7.
           Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business
                    Records, or in the Alternative, Motion for a Protective Order
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    1        B.     Defendant Has Failed to Use Minimally Intrusive Means
    2        Finally, Defendant has not demonstrated that the use of minimally intrusive means
    3 was insufficient to retrieve their desired information. Thus, Defendants have failed their
    4 burden in showing a compelling need for the subpoenaed files because there are less
    5 intrusive means of seeking the requested information. See Newell v. County of San Diego
    6 (S.D. Cal.) 2013 U.S. Dist. LEXIS 66521, *3-4 ("In the context of discovery of
    7 confidential information in personnel files, even when such information is directly
    8 relevant to litigation, discovery will not be permitted until a balancing of the compelling
    9 need for discovery against the fundamental right of privacy determines that disclosure is
   10 appropriate.")
   11        In addition, the requests seek documents without a time limit and for all Paypal
   12 transactions. Thus, even if the Court denies the instant motion to quash, Plaintiff requests
   13 the Court at least limit the scope of the subpoena to directly relevant information related
   14 to Plaintiff’s employment with Defendant and to a relevant time period.
   15        At the very least, Defendant should have to limit its subpoena by time and to
   16 specific customers it believes were illegally taken on by Plaintiff and paid through Paypal.
   17
   18 VII. Motion to Quash Is Proper Remedy
   19        A court may make an order quashing a subpoena in its entirety, modify it, or direct
   20 compliance with it upon such terms or conditions as the court declares, including
   21 protective orders. FRCP Rule 45(d)(3). Additionally, a court may make any order to
   22 protect a party from unreasonable or oppressive demands, including unreasonable
   23 violations of privacy. FRCP Rule 26
   24        A party has standing to move to quash a subpoena on the ground that it calls for
   25 irrelevant or confidential information. Singletary v. Sterling Transport Co. Inc. (ED VA
   26 2012) 289 FRD 237, 239-242; Blotzer v. L-3 Communications Corp. (D AZ 2012) 287
   27 FRD 507, 509-510.
   28
                                                    8.
            Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business
                     Records, or in the Alternative, Motion for a Protective Order
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    1
    2        A.     Court Should Issue Protective Order In the Alternative
    3        In the alternative to quashing the subpoena, this court should grant a protective
    4 order so that Plaintiff’s trade secret names of customers and other confidential
    5 information not be revealed to Defendants, but rather remain solely in the possession of
    6 Defendants’ attorney, never to be revealed to Defendants themselves. The protective
    7 order should also provide that the subpoenaed documents never be subjected to public
    8 dissemination and only be filed under seal. See FRCP 26(c)(1) (holding protective order
    9 proper for trade secrets).
   10
   11 VIII. Attempt to Meet and Confer in Good Faith
   12        On October 7, 2019, Plaintiff sent a meet and confer letter to Defense counsel, in
   13 which Plaintiff’s objections to the subpoena were outlined. Nomanim Declaration,
   14 Exhibit B. The parties then met and conferred on the phone and exchanged emails, but
   15 they could not reach a compromise. Nomanim Declaration, Exhibit B. Thus, this motion
   16 became necessary.
   17
   18 IX.    Conclusion
   19        Plaintiff’s filing of this lawsuit does not grant Defendants carte blanche to plunder
   20 the private financial records of Plaintiff and her former coworker. However, Defendant
   21 insists on the right to a fishing expedition, and has failed to articulate a proper
   22 justification for its over-broad, invasive, irrelevant subpoenas. Thus, we respectfully
   23 request that the subpoenas be quashed or limited. In the alternative, Plaintiff requests a
   24 protective order to limit the dissemination of this highly private information.
   25
        DATED:    October 23, 2019                       EISENBERG & ASSOCIATES
   26
                                              By:                /s/
   27                                                    Daniel Nomanim
                                                         Attorneys for Defendant
   28
                                                    9.
            Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business
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    1                              Declaration of Daniel Nomanim
    2
        I, Daniel Nomanim, declare:
    3
        1.    I am an attorney at law duly licensed to practice law in California and admitted to
    4
              practice before this court. I am an associate of the firm of Eisenberg & Associates,
    5
              counsel of record for Plaintiff in this matter. I have personal, firsthand knowledge
    6
    7         of the following facts and if called as a witness, I could and would testify

    8         competently to the same.
    9 2.      On October 3, 2019, my office was served by mail with the subpoena at issue in the
   10         instant motion to quash. A true and correct copy of said subpoena is attached
   11         hereto as Exhibit A.
   12 3.      A true and correct copy of the parties meet and confer correspondence regarding
   13         the subpoenas at issue is attached hereto as Exhibit B.
   14 4.      I also called Plaintiff’s counsel on October 8, 2019 to attempt to resolve this
   15         matter, but we reached an impasse.
   16
              I declare under penalty of perjury under the laws of California that the foregoing
   17
              is true and correct and that this declaration was executed on October 23, 2019.
   18
   19                                            /s/
                                               Daniel Nomanim
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                                                   10.
             Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business
                      Records, or in the Alternative, Motion for a Protective Order
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                             Exhibit “A”
     Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 14 of 27 Page ID #:171



                                                                                                                                         SUBP·010
      ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Slate Oaf number, and address):                                    FOR COURT USE ONL Y
  rKevin Abbott 281312/Chandra Winter 325353
    Lobb & Plewe, LLP
    4160 Temescal Canyon Rd, Suite 202
    Corona, CA 92883
         TELEPHONE NO.:  (951)788-9410       FAX NO,: (951) -788-0766
        E-MAIL ADDRESS: kabbott@lobbplewe.com/cwinter@lobbplewe. corn
   ATTORNEYFOR(Nema): Defendants Dorey,    Inc. and Dorcy Pruter
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LoS Angeles
    STREET ADDRESS:     111 N. Hill Street
       MAILING ADDRESS:
                      Los Angeles, CA 90012
      CITY AND ZIP CODE:

                      Stanley Mosk
             BRANCH NAME:
         PLAINTIFF/PETITIONER: J enna NOble

     DEFENDANT/RESPONDENT: Dorcy, Inc. dba COn.\'lcious Co-parenting Inst
  Dorey Pruter
                          DEPOSITION SUBPOENA                                       CASE NUMBER;
                FOR PRODUCTION OF BUSINESS RECORDS                                   19STCV28952
 THE PEOPLE OF THE STATE OF CALIFORNIA, TO (name, address, and te/ephone number of deponent, If known).
 PAY PAL HOLDINGS, INC, C.T. Corporation System
 818 West Seventh Street, Suite 930, Los Angeles CA 90017
 1. YOU ARE ORDERED TO PRODUCE THE BUSINESS RECORDS described In Item 3, as follows:
    To (name of deposition Officer): Flrst Legal Records
    On (date): 10/24/2019                                          At (time): 10: 00
    Location (address): 1511 Beverly Blvd, LOS Angeles, CA 90026
               Do not release the requested records to the deposition officer prior to the date and lime stated above.
        a.    lXI by delivering a true, legible, and durable copy of the business records described in Item 3, enclosed in a sealed Inner
                   wrapper with the title and number of the action, name of witness, and date of subpoena clearly written on it. The inner
                   wrapper shall then be enclosed in an outer envelope or wrapper, sealed, and mailed to the deposition officer at the
                   address in item 1.
        b.    D    by delivering a true, legible, and durable copy of Ihe business records described in item 3 to the depOSition officer at the
                   witness's address, on receipt of payment in cash or by check of the reasonable costs of preparing the copy, as determined
                   under Evidence Code section 1563(b).
        c.    D    by making the original business records described In Item 3 available for inspecr,on at your business address by the
                   attorney's representative and permitting copying at your business address under reasonable conditions during normal
                   business hours.
 2.    The records are to be produced by the date and time shown in item 1 (but not sooner than 20 days after the issuance of the
       deposition subpoena. or 15 days after selVice, whichever date is later). Reasonable costs of locatIng records, making them
       available or copying them, and postage, if any, are recoverable as set forth in Evidence Code section 1563(b). The records shall be
       accompanied by an affidavit of the custodian or other qualified witness pursuant to Evidence Code section 156'1.
3.     The records to be produced are described as follows (If electronically stored in/ormation is demanded. the form or
       forms In which each type of Information Is to be produced may be specified):
       PLEASE SEE ATTACHMENT 3 EXPRESSLY INCORPORATED HEREIN BY THIS
       REFERENCE.
          IX) Continued on Attachment 3.
4.     IF YOU HAVE BEEN SERVED WITH THIS SUBPOENA AS A CUSTODIAN OF CONSUMER OR EMPLOYEE RECORDS UNDER
       CODE OF CIVIL PROCEDURE SECTION 1985.3 OR 1985.6 AND A MOTION TO QUASH OR AN OBJECTION HAS BEEN
       SERVED ON YOU, A COURT ORDER OR AGREEMENT OF THE PARTIES, WITNESSES, AND CONSUMER OR EMPLOYEE
                                              ARE            TO                    OR



Date issued: 10/3/2019
KEVIN ABBOTT
                                (TYPE OR PRINT NAME)


                                                                       (Proof of service on reverse)                 (TITLE)                  Pago1of2

Form Acloplecl/or MandalOry Use
 Judicial Council 01 California em" ISEfForrrllr
                                     Essential
SUBP·OfO [RGv. Janual)' i, 2012) «!b.(Om
                                                       DEPOSITION SUBPOENA FOR PRODUCTION
                                                              OF BUSINESS RECORDS
                                                                                               Codo of Civil Procedure, §§ 2020.410·2020.440;
                                                                                                                  Government Code, § aB097.1
                                                                                                                           www.courts.ca.gov
                                                                                        Dorey Pruter
                                                                             Ex. A-01
  Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 15 of 27 Page ID #:172



                                                                                                                                  SUBp·Ol0
                                             Jenna Noble
 -         PLAINTIFF/PETITIONER:                                                              CASE NUMBER:
                                                                                               19STCV28952
   DEFENDANT/RESPONDENT:                     Dorcy, Inc. dba Conscious Co-Parenting In
   Dorey Pruter
                                              PROOF OF SERVICE OF DEPOSITION SUBPOENA FOR
                                                    PRODUCTION OF BUSINESS RECORDS
 1. I served this Deposition Subpoena for Production of Business Records by personally delivering a copy to the person served
    as follows;
      a. Person served (name):


      b. Address where served;


      c. Date of delivery;

      d. Time of delivery;
      e. (1)     o     Witness fees were paid.
                       Amoun!: .................................. $
           (2)   o     Copying fees were paid.
                       Amount .................................. $

      f. Fee for service; ...................................... $
 2. I received this subpoena for service on (date):
3. Person serving:
      a.   0     Not a registered California process server.
      b.   0     California sheriff or marshal.
      c.   0     Registered California process selVer.
      d.   0     Employee or independent contractor of a registered California process server.
      e.   0     Exempt from registration under Business and Professions Code section 22350(b).
      f.   0     Registered professional photocopier.
      g.   0     Exempt from registration under Business and Professions Code section 22451.
      h. Name, address, telephone number, and, if applicable, coun.ty of registration and number:




I declare under penalty of perjury under the laws of the State of             (For California sheriff or marshal use only)
California that the foregoing is true and correct.                            I certify that the foregoing Is true and correct.

Date;                                                                         Date;



                                    (SIGNATURE)                                                              (SIGNATURE)


SUBP-Q10 [Rev. Jenuary 1, 2012)                          DEPOSITION SUBPOENA FOR PRODUCTION                                          Pege 2 of 2

em'l essential
,,"""'" j!iJFonns·
                                                                OF BUSINESS RECORDS
                                                                                                     Dorey Pruter


                                                                      Ex. A-02
Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 16 of 27 Page ID #:173




                                             ATTACHMENT 3

                                               DEFINITIONS

            I.      "YOU" and "YOUR" shall refer to PayPal Holdings, Inc.
            2.      "PA YPAL ACCOUNT" refers to any PayPal business or personal account for any
    ofthe named individuals from 2018 to the present.
            3.      "JENNA NOBLE" shall refer to Jenna Noble, associated with email accounts
    including but not limited to: jenna@pathwaysfalllilycoachin~coll1,
    1I10nique@.pathwaysfamilycoaching.coll1, cl icntcal'c@pathwuysfumilycoaching.com, and

    narallelpal'cntingcoaching@gmail.com.
           4.       "MONIQUE MASON" shall refer to Moniquc Mason, associated with email

    accounts including but not limited to tllonique@nathwaysfamilycoaching.col11,
    ciicntcal'c(iI')pathwuystamilY£ililching.col11, and naruUelpal'entingcoaching!£v.gmuil.col11.
            5.      "SERVUS ACCOUNT" shall refer to an account with Servus Credit Union with
    the following identifying information: 2410506 Alberta Ltd.; bank account number
    649608399241; Transit Number 60199.
           6.       "TD CANADA TRUST ACCOUNT" shall refer to an account with TD Canada
    Trust with the following identifying information: bank account number 521346; Transit Number

    93840; Institution Number 004.


                         REQUESTS FOR PRODUCTION OF DOCUMENTS

    REQUEST FOR PRODUCTION OF DOCUMENTS NO.1

           All PA YPAL ACCOUNT information associated with JENNA NOBLE.

   REQUEST FOR PRODUCTION OF DOCUMENTS NO.2

           All PA YPAL ACCOUNT information associated with MONIQUE MASON.

   REQUEST FOR PRODUCTION OF DOCUMENTS NO.3

        All financial instruments added to PA YPAL ACCOUNTS associated with JENNA
   NOBLE.



                                                                                                    705937


                                                  Ex. A-03
Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 17 of 27 Page ID #:174




    REQUEST FOR PRODUCTION OF DOCUMENTS NO.4

        All financial instruments added to PAYPAL ACCOUNTS associated with MONIQUE
    MASON.

    REQUEST FOR PRODUCTION OF DOCUMENTS NO.5

         Complete PayPal transactional information for PA YPAL ACCOUNTS associated with
    JENNA NOBLE.

    REQUEST FOR PRODUCTION OF DOCUMENTS NO.6

         Complete PayPal transactional information for PA YPAL ACCOUNTS associated with
    MONIQUE MASON.

    REQUEST FOR I'RO])UCTION OF DOCUMENTS NO.7

        All PA YPAL ACCOUNT information associated with the TD CANADA TRUST
    ACCOUNT.

    REQUEST FOR PRO])UCTION OF ])OCUMENTS NO.8

            Complete PayPal transactional information for all PA YPAL ACCOUNTS associated
    with the TD CANADA TRUST ACCOUNT.

    REQUEST FORPRODUCTION OF DOCUMENTS NO.9

          All PAYPAL ACCOUNT information associated with the SERVUS ACCOUNT.

    REQUEST FOR PRODUCTION OF DOCUMENTS NO. 10

            Complete PayPal transactional information for all PA YPAL ACCOUNT information
    associated with the SERVUS ACCOUNT.




                                                                                        705937



                                           Ex. A-04
           Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 18 of 27 Page ID #:175



                                                                   PROOF OF SERVICE
                 1
                     STATE OF CALIFORNIA, COUNTY OF RlVERSIDE
                 2
                              I am employed in the County of Riverside, State of California. I am over the age of 18 and not a party to
                 3   the within action; my business address is 4160 Temescal Canyon Rd., Suite 202, Corona, CA 92883.
                4            On October 3, 2019, I served the foregoing documents by placing a true copy thereof enclosed in a sealed
                     envelope and addressed as stated below:
                 5
                      DOCUMENTS           DEPOSITION SUBPOENA FOR PRODUCTION OF BUSINESS RECORDS
             6        SERVED:
             7        SERVED              Daniel Nomanim, Esq.
             8        UPON:               Eisenberg & Associates
                                          3580 Wilshire Blvd" Suite 1260
             9                            Los Angeles, California 90010
                                          (213) 201-9331 phone
            10                            (213) 382-4083 fax
                                          www.lnborliHgntor·s.com
            11
   N
   0
   N
            12
   ~.,               X      (By Mail) I declare that I am "readily familiar" with the firm's practice of collection and processing
   ::>to    13              correspondence for mailing. Under that practice it would be deposited with the U.S. postal service on that
~ ~to
  ci~ ~                     same day with postage thereon fully prepaid at Corona, California in the ordinary course of business. I am
~'~0'"
     ~      14              aware that on motion of party served, service is presumed invalid if postal cancellation date or postage meter
  >-0
   z~
                            date is more than one day after date of deposit for mailing in affidavit.
fl.5~       15
<lI ~.:s
.. 5 .                      (By E·mail or Electronic Transmission) Based on a court order or an agreement of the parties to accept
S~:1
   Wo       16              service by cMmail or electronic transmission, I caused the documents to be sent to the persons at the e·mail
   >'",
  I!o                       addresses listed below. I did not receive, within a reasonable time after the transmission, any electronic
  OU        17
  .
  :!'!
            18
                           message or other indication that the transmission was unsuccessful.

                           (By Overnight Mail) I am "readily familiar" with the firm's practice of collection and processing
                           correspondence for overnight delivery of documents. Under that practice it would be delivered to an
            19             authorized agent or driver of UPS/Federal Express with the fees paid or provided for on the date of service
                           and delivered the next day.
            20
                           (By Personal Service) I caused such envelope to be hand delivered to the offices(s) of the addressee(s).
            21
            22       X     (State) I declare under penalty of perjury under the laws of the State of California that the above is true and
                           correct.
            23
                           Executed on October 3,2019, at Corona, California.
            24
            25                                                                       <i1MaG
                                                                                  ~EBOLD
            26
           27
           28




                                                                      Ex. A-05
Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 19 of 27 Page ID #:176




                             Exhibit “B”
                   Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 20 of 27 Page ID #:177
                                                                                                                                                                                                         Daniel Nomanim <dnomanim@gmail.com>



Noble v. Dorcy, Inc.; M&C on Def's Subpoena
Daniel Nomanim <den@laborlitigators.com>                                                                                                                                                                                     Fri, Oct 11, 2019 at 2:36 PM
To: Kevin Abbott <kabbott@lobbplewe.com>
Cc: Chandra Winter <cwinter@lobbplewe.com>, Michael Eisenberg <mbe@laborlitigators.com>

 Kevin,

 As I've stated twice now (maybe the third time will be the charm) your subpoena violates FRCP Rule 26. It's premature. None of the cases you cited apply to a premature subpoena. FRCP Rule 45 clearly states
 that "A subpoena must issue from the court where the action is pending." This matter is incredibly simple and black letter law, yet you are refusing to operate in good faith.

 Even if the subpoena was proper, your subpoenas would still be incredibly overbroad by requesting everything Paypal has as opposed to specific transactions, invade a third parties privacy, and are totally irrelevant
 to Plaintiff's claims.

 Because you are refusing to withdraw or modify your subpoena in any way and no protective order is even yet in place, you are forcing us to file a motion to quash.

 Daniel Nomanim, Esq.
 Eisenberg & Associates
 3580 Wilshire Blvd., Suite 1260
 Los Angeles, California 90010
 (213) 201-9331 phone
 (213) 382-4083 fax
 www.laborlitigators.com


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 On Thu, Oct 10, 2019 at 8:23 PM Kevin Abbott <kabbott@lobbplewe.com> wrote:

   Daniel, I just provided you recent law indica ng that the subpoena is at least arguably valid, given the lack of clear jurisprudence on the subject. Please reconsider my proposal concerning the subpoena
   and a protec ve order.



       Kevin Abbo

       PARTNER

       P 951.788.9410

       F 951.788.0766

       kabbott@lobbplewe.com

       www.lobbplewe.com



       LOBB & PLEWE, LLP | 4160 TEMESCAL CANYON RD | SUITE 202 | CORONA, CA | 92883



   From: Daniel Nomanim [mailto:den@laborlitigators.com]
   Sent: Thursday, October 10, 2019 5:13 PM
   To: Kevin Abbott
   Cc: Chandra Winter; Michael Eisenberg
   Subject: Re: Noble v. Dorcy, Inc.; M&C on Def's Subpoena



   Kevin,



   A state court subpoena is not an injunction, order, or other proceeding. Through removal, you divested the state court's jurisdiction for the subpoena, so it has no force and effect.



   In any case, the subpoena violates FRCP Rule 26(d), which states “A party may not seek discovery from any source before the parties have conferred as required by Rule 26(f)...”). Because the FRCP 26
   conference has not yet occurred,

   the subpoena served prior to our conference under FRCP Rule 26 was invalid.



   As such, we will not allow the subpoena to go forward. Your choice is to send us email confirmation of a letter withdrawing the subpoena by close of business today or face a motion to quash which will request
   appropriate sanctions.



   If you want to meet and confer about this properly, you can withdraw the subpoena without prejudice and we can address it in the proper court. Your insistence on going forward with an invalid subpoena, however,
   is totally unacceptable.



   Daniel Nomanim, Esq.
   Eisenberg & Associates
   3580 Wilshire Blvd., Suite 1260                                                                                 Ex. B-01                                                                                                                       /
Los Angeles, California
          Case          90010
                    2:19-cv-08646-ODW-JPR                                                  Document 13 Filed 10/24/19 Page 21 of 27 Page ID #:178
(213) 201-9331 phone
(213) 382-4083 fax
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On Thu, Oct 10, 2019 at 4:52 PM Kevin Abbott <kabbott@lobbplewe.com> wrote:

   Daniel, I disagree with your posi on. 28 USC § 1450 provides that “All injunc ons, orders, and other proceedings had in such ac on prior to its removal shall remain in full force and eﬀect un l dissolved
   or modiﬁed by the district court.” Proceedings include discovery. See, e.g., Mann v. Metro. Life Ins. Co., No. 99-CV-36, 1999 WL 33453411, at *2 (W.D. Va. July 9, 1999) (“Accordingly, the court concludes
   that the removal of the instant case from state to federal court did not aﬀect the validity and force of plain ﬀ's request”); Jenkins v. Commonwealth Land Title Ins. Co., 95 F.3d 791, 795 (9th Cir.1996)
   (“[A] er removal, the federal court takes the case up where the State court le it oﬀ.”); Carvalho v. Equifax Informa on Services, LLC, 629 F.3d 876, 887 (9th Cir.2010) (“The federal court ... treats
   everything that occurred in the state court as if it had taken place in federal court.”).



   At most, the issue here is a disputed one in the Ninth Circuit. Pena v. Taylor Farms Pac., Inc., No. 2:13-CV-1282 KJM AC, 2013 WL 3933934, at *4 (E.D. Cal. July 29, 2013). Accordingly, rather than engaging
   in law and mo on on a disputed area of law, I have proposed that my oﬃce will maintain any records received without disclosing them to our client un l we have agreed on a protec ve order. Let me
   know if this is agreeable.



      Kevin Abbo

      PARTNER

      P 951.788.9410

      F 951.788.0766

      kabbott@lobbplewe.com

      www.lobbplewe.com



      LOBB & PLEWE, LLP | 4160 TEMESCAL CANYON RD | SUITE 202 | CORONA, CA | 92883



   From: Daniel Nomanim [mailto:den@laborlitigators.com]
   Sent: Thursday, October 10, 2019 10:34 AM
   To: Kevin Abbott
   Cc: Chandra Winter; Michael Eisenberg
   Subject: Re: Noble v. Dorcy, Inc.; M&C on Def's Subpoena



   Hello Kevin,



   Because the case has been removed, the subpoena is now premature pursuant to FRCP Rule 26(d), which states “A party may not seek discovery from any source before the parties have conferred as required
   by Rule 26(f)...”).



   Because the FRCP 26 conference has not yet occurred, the subpoena served prior to our conference under FRCP Rule 26 was invalid.



   Please agree to withdraw or we will be filing a motion to quash this premature subpoena.



   Please email us a proof of service sent to Paypal by close of business today to avoid what should be an unnecessary motion.




   Daniel Nomanim, Esq.
   Eisenberg & Associates
   3580 Wilshire Blvd., Suite 1260
   Los Angeles, California 90010
   (213) 201-9331 phone
   (213) 382-4083 fax
   www.laborlitigators.com


                                                                                                               Ex. B-02                                                                                                                       /
PRIVILEGE AND CONFIDENTIALITY NOTICE
     Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 22 of 27 Page ID #:179
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of this message, you are hereby notified that disseminating, distributing, or copying it or any attachment to it is strictly prohibited. If you have received this message in error, please notify me immediately by email and delete the original
message.




On Tue, Oct 8, 2019 at 3:54 PM Kevin Abbott <kabbott@lobbplewe.com> wrote:

   Daniel, it was good speaking with you about this subpoena. While I do ﬁnd informal discovery conferences to be useful, since the subpoena was served, we have decided to remove this ma er to
   federal court, dives ng Judge Linﬁeld of jurisdic on. The removal documents are being ﬁled today. I will prepare a protec ve order for your review. In the mean me, I am happy to agree that I will
   not disclose any documents produced by Paypal to my client unless and un l we have agreed on a protec ve order and we have had the opportunity to meet and confer on the designa on of said
   documents pursuant to that order. Please let me know if this is acceptable.



      Kevin Abbo

      PARTNER

      P 951.788.9410

      F 951.788.0766

      kabbott@lobbplewe.com

      www.lobbplewe.com



      LOBB & PLEWE, LLP | 4160 TEMESCAL CANYON RD | SUITE 202 | CORONA, CA | 92883



   From: Daniel Nomanim [mailto:den@laborlitigators.com]
   Sent: Tuesday, October 8, 2019 3:22 PM
   To: Kevin Abbott; Chandra Winter
   Subject: Re: Noble v. Dorcy, Inc.; M&C on Def's Subpoena



   Hello Kevin,



   Thank you for speaking with me about your subpoena. We believe the subpoenas are still too overbroad, irrelevant, and invade Plaintiff and Ms. Mason's privacy rights. See Cobb. v. Sup.Ct. (1979) 99 Cal.App.3d
   543, 550. "[T]here is a right to privacy in confidential customer information whatever form it takes, whether that form be...statements, or other account information." Fortunato v. Sup.Ct. (2003) 114 Cal.App.4th
   475, 480. Moreover, the confidential financial affairs of third persons are entitled to a heightened privacy. See Valley Bank of Nevada v. Sup.Ct. (1975) 15 Cal.3d 652, 658.



   As you know, you are requested paypal account information regarding the Servus and TD Canada Trust account.



   You stated the alleged relevance was because Plaintiff allegedly stole customer list, converted funds, and embezzled funds, even though there is no evidence of such misconduct. Moreover, I pointed out that your
   client would have to turn over such information as well.



   The only thing we agreed upon is that we should enter a protective order now, as the judge will require one whether or not we could avoid a motion to quash.



   As a last ditch effort to resolve this issue, would you be willing to attend an informal discovery conference with Judge Michael Linfield? He is an excellent judge and I've resolved numerous discovery issues with
   him informally. It will save both parties substantial time and fees. If so, we need the subpoena to be withdrawn for the time being until we can meet with the Judge. I have to file the MTQ by Friday, so please let
   me know by 12:00 p.m. on Thursday whether you are willing to go to an IDC.



   On Mon, Oct 7, 2019, 8:32 PM Daniel Nomanim <den@laborlitigators.com> wrote:

      Hi Kevin,



      Please see attached.



      Do you have time tomorrow to discuss this?




      Daniel Nomanim, Esq.
      Eisenberg & Associates
      3580 Wilshire Blvd., Suite 1260
      Los Angeles, California 90010
      (213) 201-9331 phone
      (213) 382-4083 fax
      www.laborlitigators.com
                                                                                                           Ex. B-03                                                                                                                      /
PRIVILEGE AND CONFIDENTIALITYDocument
  Case 2:19-cv-08646-ODW-JPR  NOTICE 13 Filed 10/24/19 Page 23 of 27 Page ID #:180
This message is intended only for the use of the individual or entity to which it is addressed and may contain information that is privileged, confidential, and exempt from disclosure under applicable law. If you are not the intended
recipient of this message, you are hereby notified that disseminating, distributing, or copying it or any attachment to it is strictly prohibited. If you have received this message in error, please notify me immediately by email and delete
the original message.




                                                                                                      Ex. B-04                                                                                                                        /
Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 24 of 27 Page ID #:181

                          E ISENBERG & A SSOCIATES
                                 E M P L O Y M E N T          L A W Y E R S
                                        3580 W ilshire Blvd., Suite 1260
                                         Los Angeles, California 90010
                                           Telephone (213) 201-9331
                                           Facsimile (213) 382-4083
                                         www.laborlitigators.com

   October 7, 2019

   Via Email Only
   Kevin Abbott, Esq. (Kabbott@lobbplewe.com)
   CC: Chandra Winter, Esq. (Cwinter@lobbplewe.com)

          Re:     Jenna Noble v. Dorcy, Inc. dba Concious Co-Parenting Institute

   This letter pertains to the subpoena directed to Plaintiff Noble and Monique Mason’s Paypal
   accounts in connection with the above-referenced litigation. This letter intends to comply with
   the meet and confer requirements of the California Code of Civil Procedure. We are objecting to
   the subpoena on the grounds that it fails to include a notice to consumer, is extremely overbroad,
   invades Plaintiff’s privacy as well as the privacy of a third party, is absolutely irrelevant, and is
   not narrowly tailored to the issues in this case. The subpoena requests literally all of Plaintiff and
   Ms. Mason’s paypal account information.

   No Notice to Consumer Was Included
   First, the subpoena fails to adequately notify relevant consumers as Defendant failed to include a
   notice to consumer in compliance with CCP §§1985.3, 1985.6. Financial records are obviously
   consumer information, so failure to include a notice to consumer is a fatal defect of the subpoena.

   Invasion of Third-Party and Plaintiff’s Privacy Rights and Lack of Relevance
   Although by bringing suit there may be an implicit partial waiver of the right to privacy, “the
   scope of such waiver must be narrowly, rather than expansively construed, so that plaintiffs will
   not be unduly deterred from instituting lawsuits by fear of exposure of private activities.” Davis
   v. Superior Court (1992) 7 Cal.App.4th 1008, 1014. Furthermore, “even when discovery of
   private information is found directly relevant to the issues of ongoing litigation, it will not be
   automatically allowed; there must then be a careful balancing of the compelling public need for
   discovery against the fundamental right of privacy.” Id. “The scope of discovery must be
   narrowly circumscribed, drawn with narrow specificity, and must proceed by the least intrusive
   manner.” Id.

   Courts have found that such subpoenas can have a “chilling effect” on a Plaintiff’s decision to
   assert his or her legal rights. See Rivera v. NIBCO, Inc. (9th Cir. 2003) 364 F.3d 1057, 1065-66
   (recognizing that discovery that would cause a chilling effect on Plaintiffs seeking to enforce
   their employment rights is an unreasonable burden and therefore affirmed the district court’s
   protective order).

   Disclosure of private records cannot be compelled unless the information is directly related to
   this action - that is, it must be essential to determining the truth of matters in dispute. Britt v.
   Sup. Ct. (1978) 20 Cal. 3d 844, 859-862. Moreover, even where the information meets this high
   standard of relevance, it is not to be disclosed unless a balancing of the interests favors


                                                Ex. B- 05
Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 25 of 27 Page ID #:182



   Kevin Abbott, Esq.
   October 7, 2019
   Page 2


   disclosure. Where a party seeks to discover documents subject to the constitutional right to
   privacy, that party bears the burden of establishing a compelling need for the discovery. Harding
   Lawson Associates v. Sup. Ct. (1992) 10 Cal. App. 4th 7, 10; Davis v. Sup. Ct. (1992) 7 Cal.App.
   4th 1008, 1014.

   Finally, to the extent a court allows discovery into information protected by the right to privacy,
   the order must “be the minimum intrusion necessary to achieve its objective.” Lantz v. Sup. Ct.
   (1994) 28 Cal.App.4th 1839, 1855 (emphasis added).

   Here, Paypal account records are clearly private financial information similar to a bank account.
   See Bowerman v. Field Asset Servs. 2013 U.S. Dist. LEXIS 163197, *12 (refusing to compel
   bank records given ample alternatives to get non-private records even though a protective order
   was in place). Defendants cannot demonstrate that Plaintiff’s Paypal records are directly related
   to this action, nor can Defendants show that a compelling need exists to produce those private
   records. A fortiori they cannot do so for Ms. Mason. The documents requested - private
   financial records- simply have no bearing on the matters in dispute in this action.

   Conclusion
   Although we contend that the subpoena is overbroad and violative of Plaintiffs’ privacy rights,
   we are willing to meet and confer if Defendants comes forward with a good faith argument. As
   part of this meet and confer, we request you withdraw the subpoena in the time being because a
   notice to consumer was not sent anyway.

   The subpoenas have a production date of October 24, 2019 and Plaintiff’s office is closed from
   October 14-22. As such, the time limit for meeting and conferring regarding the subpoena is
   quite limited. Accordingly, please advise us of your response to this letter or, at a minimum,
   availability for a meet and confer call by the close of business on October 9, 2019. If you do
   not agree to cancel the subpoenas or agree to meet and confer regarding the scope of the
   subpoena, we will be forced to file a motion to quash on October 10, 2019, which will request
   appropriate sanctions. Given the shortened time frame for motions to quash subpoenas, if we are
   completely ignored, we will be completely justified in filing our motion.

   Daniel Nomanim
   DANIEL NOMANIM

   CC: Paypal Holdings, Inc. C.T. Corporation System
   818 West Seventh St., Suite 930, Los Angeles, CA 90017




                                              Ex. B- 06
Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 26 of 27 Page ID #:183
Case 2:19-cv-08646-ODW-JPR Document 13 Filed 10/24/19 Page 27 of 27 Page ID #:184



    1                                    PROOF OF SERVICE
    2         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    3        I am over the age of 18 years and am employed in the county of Los Angeles,
      State of California. I am not a party to this action. My business address is 3580
    4 Wilshire Blvd., Suite 1260, Los Angeles, CA 90010.
    5       On the date below, I served the foregoing document(s) described as: Plaintiff’s
      Notice of Motion and Motion to Quash Plaintiff’s Deposition Subpoenas for
    6 Production of Business Records or, in the alternative, Motion for a Protective Order;
      Declaration of Daniel Nomanim; Declaration of Jenna Noble by placing a true copy
    7 thereof enclosed in a sealed envelope, as indicated thereon to the following:
    8 Kevin Abbott, Esq. (Kabbott@lobbplewe.com)
        Chandra Winter, Esq. (Cwinter@lobbplewe.com)
    9 Lobb & Plewe, LLP
        4160 Temescal Canyon Rd., Suite 202
   10 Corona, CA 92883
        Fax: (951) 788-0766
   11
          (By Mail)        I caused such envelope, with postage thereon fully prepaid, to be
   12 placed in the United States mail at Los Angeles, California. I am "readily familiar"
        with the firm's practice of collection and processing correspondence for mailing.
   13 Under that practice, it would be deposited with the U.S. postal service on that same
        day with postage thereon fully prepaid in Los Angeles, California in the ordinary
   14 course of business. I am aware that on motion of the party served, service is presumed
        invalid if postal cancellation date or postage meter date is more than one day after date
   15 of deposit for mailing in affidavit.
   16      (By Personal Service)        I caused such envelope to be delivered by hand to the
        addressee(s).
   17
        _X_ (By NEF)       The Document was served via Notice of Electronic Filing.
   18
        ___ (By Overnight Mail)         I caused the foregoing document to be deposited into
   19 the Federal Express pickup box located at 3580 Wilshire Blvd, Los Angeles,
        California 90010 on the date below which is regularly maintained by Federal Express.
   20 I am "readily familiar" with the practice of Eisenberg & Associates for the collection
        and processing correspondence for overnight delivery and know that the document(s)
   21 described herein were deposited in a box or other facility regularly maintained by
        Federal Express for overnight delivery. Said package shipment was prepaid and the
   22 bill was sent to the sender, namely, Eisenberg & Associates.
   23
              I declare under penalty of perjury pursuant the laws of the State of California
   24 that the foregoing is true and correct. Executed on October 24, 2019 in Los Angeles,
        California.
   25
                                               _______/s/______________
   26                                            Daniel Nomanim
   27
   28
                                                   3.
        Plaintiff’s MTQ Plaintiff’s Deposition Subpoenas for Production of Business Records,
                         or in the Alternative, Motion for a Protective Order
